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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA SUPERSEDING INDICTMENT
Vv. $1 23 Cr. 307 (LJL)
MICHAEL SHVARTSMAN,
GERALD SHVARTSMAN, and
BRUCE GARELICK,
Defendants.
COUNT ONE

(Conspiracy to Commit Securities Fraud)

The Grand Jury charges:

ie MICHAEL SHVARTSMAN, GERALD SHVARTSMAN, and BRUCE
GARELICK, the defendants, together made more than $22 million dollars in illegal profits by
trading fa securities of a special purpose acquisition corporation (“SPAC”) named Digital World
Acquisition Corporation (“DWAC”) based on insider information that the SPAC was going to
take public a media company owned by former U.S. President Donald J. Trump. In violation of
duties they owed to DWAC, the defendants exploited confidential information they possessed
regarding DWAC’s target, its plans, and its negotiations in order to execute profitable and timely
trades.

2. As sophisticated investors, MICHAEL SHVARTSMAN, GERALD
SHVARTSMAN, and BRUCE GARELICK, the defendants, were invited to invest in DWAC,
and after signing non-disclosure agreements with DWAC and another SPAC, Benessere Capital
Acquisition Corporation (“Benessere”), were provided confidential information about DWAC’s

and Benessere’s potential business combination targets, which included a media company
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founded by President Donald J. Trump called Trump Media & Technology Group (“Trump
Media”). As a condition of receiving this information, the defendants were prohibited by the
non-disclosure agreements from disclosing the confidential information they learned or using it
to buy and sell securities on the open market.

3: After MICHAEL SHVARTSMAN, GERALD SHVARTSMAN, and BRUCE
GARELICK, the defendants, made an initial investment into DWAC, which was negotiated
directly with DWAC rather than made on the open market, DWAC gave GARELICK a seat on
DWAC’s board of directors. As a board member, GARELICK had access to valuable material
non-public information about DWAC’s plans to merge with Trump Media. But, in contravention
of his duties and responsibilities as a board member, GARELICK provided DWAC’s
confidential information about its merger plans to his co-conspirators, allowing them to make
lucrative trades in DWAC securities. After the defendants learned about DWAC’s plans to move
forward with a business combination with Trump Media, but before those plans were publicly
known, the defendants bought millions of dollars of DWAC securities on the open market so that
they could be in a position to profit after the merger was announced publicly. In addition to their
own purchases, the defendants also passed DWAC’s confidential information to their friends
and/or employees, who also purchased tens of thousands of DWAC securities in advance of the
SPAC’s merger announcement.

4, After DWAC’s merger with Trump Media was announced publicly, and the stock
and warrant holdings of MICHAEL SHVARTSMAN, GERALD SHVARTSMAN, and BRUCE
GARELICK, the defendants, and those they tipped, significantly increased in value, the

defendants sold their securities for a significant profit.
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Background

. Digital World Acquisition Corporation and Benessere Capital Acquisition
Corporation are SPACs. A SPAC, sometimes called a “blank check” company, is a company
that has no operating business of its own at the time that it becomes a publicly traded company. _
The purpose of a SPAC is to merge with a private company so that the private company may
become publicly traded. Typically, after a SPAC becomes publicly traded, it identifies several
potential target operating companies, negotiates with one or more, and ultimately merges with an
operating company. After the deal is complete, the shares of the SPAC become the shares of the
operating company, which then can be bought and sold by the public on a stock exchange.
While not always the case, the price of shares of a SPAC often increases after a public
announcement of a business combination with a private company. The magnitude of the
increase is determined, at least in part, by the market demand for shares in the target company.

6. In early 2021, representatives of the private company Trump Media, including
former President Trump, began communicating with the principals of Benessere about a
potential merger to take Trump Media public through a SPAC. Between in or about March and
June 2021, Trump Media and Benessere entered into nonbinding letters of intent to merge.
Those letters of intent included confidentiality provisions that specified that the information
about the potential merger between Trump Media and Benessere was material non-public
information that should be kept confidential. The letters of intent did, however, provide that
Benessere and its agents could share confidential information with potential investors in the
SPAC.

qs By in or about the summer of 2021, the chief executive officer of Benessere (the

“CEO”) was attempting to solicit investors in another, new SPAC that he managed but that had
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not yet gone public—DWAC. The CEO was introduced to MICHAEL SHVARTSMAN, the
defendant, and in June 2021, the CEO and MICHAEL SHVARTSMAN met at the offices of
Rocket One Capital LLC—a venture capital firm owned by MICHAEL SHVARTSMAN—to
discuss a potential investment in Benessere and DWAC. MICHAEL SHVARTSMAN’s brother,
GERALD SHVARTSMAN, the defendant, and Rocket One’s chief investment officer, BRUCE
GARELICK, the defendant, were also present during this meeting.

8. Before there was any substantive discussion about the SPACs, MICHAEL
SHVARTSMAN, GERALD SHVARTSMAN, and BRUCE GARELICK, the defendants, were
required to sign confidentiality agreements with Benessere and DWAC. Those confidentiality
agreements stated, in sum and substance, that the defendants could use the information provided
by the SPACs only to consider whether to invest directly in DWAC or Benessere, i.e., through
the purchase of “locked up” founder shares or units issued as part of the initial public offering.
The agreements dlsa stated that the defendants could not disclose material non-public
information they learned from Benessere or DWAC, or use it to engage in securities trading on
the open market on the basis of material non-public information. After signing the
confidentiality agreements, MICHAEL SHVARTSMAN, GERALD SHVARTSMAN, and
GARELICK were provided highly confidential information about the potential business
combination targets of Benessere and DWAC, including the fact that Benessere had executed a
letter of intent with Trump Media. Later, throughout in or about June 2021, the defendants had
additional telephone calls with the CEO, during which the CEO repeatedly stated that Trump
Media had become a likely target for DWAC.

9. MICHAEL SHVARTSMAN, GERALD SHVARTSMAN, and BRUCE

GARELICK, the defendants, decided to invest hundreds of thousands of dollars in founder
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shares and initial public offering units of DWAC. As a condition of MICHAEL
SHVARTSMAN’s large investment in the SPAC, in or about July 2021, GARELICK was
named a director of DWAC. Asa director, GARELICK became subject to a code of ethics that,
among other things, prohibited his misuse of confidential information by, for instance, insider
trading.

10. Asamember of DWAC’s board of directors, BRUCE GARELICK, the
defendant, was privy to material non-public information about DWAC’s negotiations with
acquisition targets, including Trump Media. At the time, DWAC’s potential business
combination with Trump Media was not public, and GARELICK was being provided
information that would have been highly material to DWAC’s share price. For example, in or
about September 2021, GARELICK attended a DWAC board meeting at which he learned
confidential information about the potential merger targets with which DWAC planned to
negotiate letters of intent. In or around September and October 2021, GARELICK again was
provided confidential information, which he was obligated to protect and not disclose, about the
status of merger negotiations between DWAC and Trump Media, the timing of a letter of intent
and merger agreement, deal terms, and a likely closing date. After learning material non-public
information through his role on DWAC’s board, GARELICK provided updates to MICHAEL
SHVARTSMAN, the defendant, about the status of the merger negotiations and the timing of a
public merger announcement, and MICHAEL SHVARTSMAN in turn provided the same
information to his brother, GERALD SHVARTSMAN, the defendant.

The Defendants’ Insider Trading of DWAC Securities

11. From in or about September through October 2021, MICHAEL SHVARTSMAN,

GERALD SHVARTSMAN, and BRUCE GARELICK, the defendants, used material non-public
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information about the fact that Trump Media was a likely acquisition target for DWAC to make
well-timed purchases of DWAC securities on the Nasdaq exchange. The defendants knew that
Trump Media was a merger target for DWAC by virtue of the confidential information disclosed
to them pursuant to non-disclosure agreements, as well as through non-public information that
GARELICK learned as a board member, and therefore they were able to make trades that, based
on that confidential information, they anticipated would be and ultimately in fact were lucrative.
12. ‘In order to increase their investments in DWAC, which they knew would be

profitable by virtue of their knowledge of material non-public information, MICHAEL
SHVARTSMAN, GERALD SHVARTSMAN, and BRUCE GARELICK, the defendants,
purchased DWAC units and warrants on the Nasdaq from sellers, including counterparties in the
Southern District of New York, who did not have advance knowledge of the SPAC’s plans.
Specifically:

a. On the first day of open market trading of DWAC, on or about September
3, 2021, BRUCE GARELICK, the defendant, purchased approximately 610 units of DWAC on ~
the open market. On or about September 10, 2021, GARELICK purchased an additional 300
units of DWAC on the open market. On or about September 17, 2021, after learning that there
would be a DWAC board meeting a few days later, GARELICK purchased 410 units of DWAC.
On or about September 20, 2021, after receiving another update about the timing of the board
meeting, GARELICK purchase 900 units of DWAC. That same day, GARELICK texted
MICHAEL SHVARTMAN, the defendant, that he had a DWAC board meeting the next day and
that he “recommended starting to buy more DWACU [DWAC unit] stock.” Shortly before the
start of the board meeting on or about September 21, 2021, GARELICK purchased another 1,800

units of DWAC. On or about September 23, 2021, after the board meeting and after learning that
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DWAC had executed a letter of intent with Trump Media, GARELICK purchased 1,300 DWAC
units. Despite being a director of DWAC, and as a further act of concealment of his insider
trading, GARELICK did not make any filings on SEC Form 3 with the Securities and Exchange
Commission disclosing his purchases of DWAC securities, as he was required to do so by law.

b. After DWAC executed a letter of intent with Trump Media on or around
September 23, 2021, BRUCE GARELICK, the defendant, had several conversations with
‘MICHAEL SHVARTSMAN, the defendant, in which he conveyed material non-public
information to MICHAEL SHVARTSMAN and encouraged him to buy DWAC securities.

After GARELICK and MICHAEL SHVARTSMAN spoke, on or about October 1, 2021, once
DWAC warrants began trading on the Nasdaq exchange, MICHAEL SHVARTSMAN purchased
2,000,000 DWAC warrants over three days.

c. On or about October 7, 2021, shortly after MICHAEL SHVARTSMAN,
the defendant, purchased DWAC warrants based on material non-public information, his brother,
GERALD SHVARTSMAN, the defendant, purchased 275,000 DWAC warrants. Additionally,
while in the possession of material non-public information, GERALD SHVARTSMAN
purchased an additional 25,000 DWAC warrants on or about October 8, 2021, and 100,000 more
DWAC warrants on or about October 18, 2021.

13. In addition to purchasing DWAC units and warrants based on material non-public
information, MICHAEL SHVARTSMAN, GERALD SHVARTSMAN, and BRUCE
GARELICK, the defendants, also provided material non-public information to their friends and
employees, in violation of the non-disclosure obligations they had to DWAC. Specifically:

a. On or about September 30 and October 1, 2021, MICHAEL

SHVARTSMAN, the defendant, told his neighbor that he should invest in the stock and that it
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was a good bet. MICHAEL SHVARTSMAN, however, did not disclose to his neighbor that he
had material non-public information about the stock or knew its eventual merger partner.
MICHAEL SHVARTSMAN’s neighbor purchased approximately 1,809 DWAC shares.

b. In or about June 2021, MICHAEL SHVARTSMAN and BRUCE
GARELICK, the defendants, shared material non-public information about DWAC and
Benessere with a business associate of MICHAEL SHVARTSMAN. After DWAC’s initial
public offering, on or around September 8, 2021, GARELICK told the business associate that the
business combination between DWAC and Trump Media was expected in six to ten weeks, and
that GARELICK and MICHAEL SHVARTSMAN intended to purchase approximately $255,000
of additional DWAC securities on the open market over the next month. After receiving
additional non-public information fiom GARELICK and MICHAEL SHVARTSMAN about
DWAC’s planned business combination in or around September and October 2021, MICHAEL
SHVARTSMAN’s business associate purchased approximately 1,000 DWAC warrants on or
about October 6, 2021, and an additional 11,300 DWAC warrants on October 7, 2021.

Cc. On or about October 19, 2021, MICHAEL SHVARTSMAN and BRUCE
GARELICK, the defendants, were in Las Vegas, Nevada, with a friend of MICHAEL
SHVARTSMAN for a conference. That evening GARELICK participated in a virtual DWAC
board meeting at which finalization of the Trump Media merger was discussed. The next
morning, MICHAEL SHVARTSMAN’s friend purchased 150,000 DWAC warrants about the
pending but not public merger announcement. MICHAEL SHVARTSMAN’s business associate
was also in Las Vegas with MICHAEL SHVARTSMAN, and he also purchased an additional
100,000 DWAC warrants on or about October 20, 2021.

d. On or about October 18 or 19, 2021, GERALD SHVARTSMAN, the
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defendant, called one of the employees at his business, Source Outdoor Furniture, an outdoor
furniture supply store (“Source Outdoor Employee-1”), and told him to buy DWAC warrants.
GERALD SHV ARTSMAN told Source Outdoor Employee-1, in sum and substance, to buy
DWAC warrants because DWAC was going to merge with former President Trump’s media
company, the merger had been approved, the merger would be announced sometime in the next
two weeks, GERALD SHVARTSMAN had invested approximately $500,000 in DWAC, and
GERALD SHVARTSMAN’s brother had invested up to $1 million in DWAC. Based on this tip,
on or about October 19, 2021, Source Outdoor Employee-1 purchased approximately 1,301
DWAC shares on the open market prior to the announcement of the Trump Media merger.
Source Outdoor Employee-1 also told two of his friends about the tip, and both of them traded
DWAC’s stock prior to the announcement.

e. On or about October 19, 2021, GERALD SHVARTSMAN, the defendant,
called a second employee of his business (“Source Outdoor Employee-2”) and told him, in sum
and substance, to buy DWAC warrants because DWAC was going to announce that it was
merging with Trump Media within the next two weeks. The same day, Source Outdoor
Employee-2 purchased anproiinatsly 100,000 DWAC warrants. Source Outdoor Employee-2
also told his father and a friend about the tip, both of whom bought DWAC warrants prior to the
Trump Media merger announcement.

14. Onor about October 20, 2021, after the close of trading, a spokesperson for
former President Trump posted a press release to Twitter announcing the planned merger of
DWAC and Trump Media. After the public announcement of the DWAC-Trump Media merger
agreement, the share and warrant prices of DWAC increased substantially. Thereafter, BRUCE

GARELICK, the defendant, sold all the DWAC securities he had purchased on the open market
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for a profit of approximately $49,702. MICHAEL SHVARTSMAN, the defendant, sold the
DWAC securities that Rocket One purchased on the open market for a profit of approximately
$18.2 million. GERALD SHVARTSMAN, the defendant, sold the DWAC securities he
purchased on the open market for a profit of approximately $4.6 million.

MICHAEL SHVARTSMAN’s Money Laundering Scheme

15. In or about December 2021, MICHAEL SHVARTSMAN, the defendant,
transferred approximately $8.4 million in proceeds obtained through the sale of DWAC
securities, which MICHAEL SHVARTSMAN had purchased while in possession of material
non-public information, through a series of bank accounts that MICHAEL SHVARTSMAN
controlled. These funds were then transferred to a bank account (the “Washing Account”), in the
name of one of MICHAEL SHVARTSMAN’s businesses and controlled in part by MICHAEL
SHVARTSMAN’s business associate. The Washing Account regularly received a high volume
of deposits and transmitted a high volume of withdrawals, with a consistently high running
balance. As a result, transferring these proceeds into the Washing Account provided an effective
method of concealing the source antl ownership of those funds.

16. In or about July 2022, MICHAEL SHVARTSMAN, the defendant, transferred
approximately $12 million in proceeds obtained through the sale of DWAC securities to a bank
account that MICHAEL SHVARTSMAN controlled. In or about fall 2022, MICHAEL
SHVARTSMAN used these funds to help purchase an approximately $14.7 million luxury yacht,
at that time named “Ipanema” and since renamed “Provocateur.” MICHAEL SHVARTSMAN
took measures, including the use of corporate forms, multiple bank transfers, and legal
agreements, to conceal the source of the funds used to purchase the yacht, as well as the

ownership and control of the yacht once acquired.

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Statutory Allegations

17. From at least in or about June 2021 up to and including at least in or about
November 2021, in the Southern District of New York and elsewhere, MICHAEL
SHVARTSMAN, GERALD SHVARTSMAN, and BRUCE GARELICK, the defendants, and
others known and unknown, willfully and knowingly, did combine, conspire, confederate, and
agree together and with each other to commit an offense against the United States, to wit,

(i) securities fraud, in violation of Title 15, United States Code, Sections 78j(b) and 78ff, and
Title 17, Code of Federal Regulations, Section 240.10b-5; and (ii) securities fraud, in violation of
Title 18, United States Code, Section 1348.

18. It was a part and object of the conspiracy that MICHAEL SHVARTSMAN,
GERALD SHVARTSMAN, and BRUCE GARELICK, the defendants, and others known and
unknown, willfully and knowingly, directly and indirectly, by use of a means and instrumentality
of interstate commerce and of the mails, and a facility of a national securities exchange, would and
did use and employ, in connection with the purchase and sale of a security, a manipulative and
deceptive device and contrivance, in violation of Title 17, Code of Federal Regulations, Section
240.10b-5, by (a) employing a device, scheme, and artifice to defraud; (b) making an untrue
statement of a material fact and omitting to state a material fact necessary in order to make the
statements made, in light of the circumstances under which they were made, not misleading; and
(c) engaging in an act, practice, and courses of business which operated and would operate as a
fraud and deceit on a person, in violation of Title 15, United States Code, Section 78j(b) and 78ff.

19. It was further a part and object of the conspiracy that MICHAEL SHVARTSMAN,
GERALD SHVARTSMAN, and BRUCE GARELICK, the defendants, and others known and

unknown, would and did knowingly execute, and attempt to execute, a scheme and artifice to

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(a) defraud a person in connection with a security of an issuer with a class of securities registered
under Section 12 of the Securities Exchange Act of 1934 and that was required to file reports under
Section 15(d) of the Securities Exchange Act of 1934, and (b) obtain, by means of false and
fraudulent pretenses, representations, and promises, money and property in connection with the
purchase and sale of a security of an issuer with a class of securities registered under Section 12
of the Securities Exchange Act of 1934 and that was required to file reports under Section 15(d)
of the Securities Exchange Act of 1934, in violation of Title 18, United States Code, Section 1348.
Overt Acts

20. ‘In furtherance of the conspiracy and to effect its illegal objects, MICHAEL
SHVARTSMAN, GERALD SHVARTSMAN, and BRUCE GARELICK, the defendants,
committed and caused to be committed the following overt acts, among others, in the Southern
District of New York and elsewhere: on multiple occasions, the defendants traded or caused others
to trade in DWAC securities that were listed on the Nasdaq exchange with counterparties located
in New York, New York.

(Title 18, United States Code, Section 371.)

COUNT TWO THROUGH NINE
(Securities Fraud)

The Grand Jury further charges:

21. The allegations contained in paragraphs 1 through 16 of this Indictment are
hereby repeated, realleged, and incorporated by reference, as if fully set forth herein.

22. On the dates set forth below, in the Southern District of New York and elsewhere,
MICHAEL SHVARTSMAN, GERALD SHVARTSMAN, and BRUCE GARELICK, the
defendants, willfully and knowingly, directly and indirectly, by the use of a means and

instrumentality of interstate commerce and of the mails, and a facility of a national securities

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exchange, used and employed, in connection with the purchase and sale of a security, a

manipulative and deceptive device and contrivance, in violation of Title 17, Code of Federal

Regulations, Section 240.10b-5, by (a) employing a device, scheme, and artifice to defraud;

(b) making an untrue statement of a material fact and omitting to state a material fact necessary

in order to make the statements made, in light of the circumstances under which they were made,

not misleading; and (c) engaging in an act, practice, and course of business which operated and

would operate as a fraud and deceit on a person, to wit, while in possession of material non-

public information to which they had been entrusted, and in violation of their duties of trust and

confidence, used the material non-public information to execute and cause and assist others to

execute the securities transactions listed below on or about the dates listed below:

Count | Defendant(s) Trade Date(s) Transactions
September 3 - 23, | Purchase of 4,020 units of
2 BRUCE GARELICE 2021 DWAC by BRUCE GARELICK
BRUCE GARELICK and September 30 — Purchase of 2,000,000 warrants
3 MICHAEL Dicher 5.091 | 0f DWAC by MICHAEL
SHVARTSMAN ee SHVARTSMAN
BR, OARS Purchase of 400,000 warrants of
MICHAEL October 7 - 18,
4 DWAC by GERALD
SHVARTSMAN, and 2021 SHVARTSMAN
GERALD SHVARTSMAN
HAE Purchase of 1,809 shares of
5 wy ae October 1,2021 | DWAC by MICHAEL
SHVARTSMAN’s neighbor
ARE Purchase of 500 units and
6 aa LCK, and September 13-— | 11,300 warrants of DWAC by
SHVARTSMAN October 20, 2021 MICHAEL SHVARTSMAN s
business associate
BRUCE GARELICK, and Purchase of 150,000 warrants of
7 MICHAEL October 20, 2021 | DWAC by MICHAEL
SHVARTSMAN SHVARTSMAN’s friend
Purchase of 1,301 shares of
8 GERALD SHVARTSMAN | October 19, 2021 | DWAC by Outdoor Source
Employee-1

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Purchase of 100,000 warrants of
9 GERALD SHVARTSMAN | October 20, 2021 | DWAC by Outdoor Source

Employee-2

(Title 15, United States Code, Sections 78j(b) & 78ff;
Title 17, Code of Federal Regulations, Section 240.10b-5; and
Title 18, United States Code, Section 2)

COUNT TEN
(Securities Fraud)

The Grand Jury further charges:

23. The allegations contained in paragraphs 1 through 16 of this Indictment are
hereby repeated, realleged, and incorporated by reference, as if fully set forth herd,

24. From at least in or about June 2021 through at least in or about November 2021,
in the Southern District of New York and elsewhere, MICHAEL SHVARTSMAN, GERALD
SHVARTSMAN, and BRUCE GARELICK, the defendants, knowingly executed, and attempted
to execute, a scheme and artifice to (a) defraud a person in connection with a security of an
issuer with a class of securities registered under Section 12 of the Securities Exchange Act of
1934 and that was required to file reports under Section 15(d) of the Securities Exchange Act of
1934, and (b) obtain, by means of false and fraudulent pretenses, representations, and promises,
money and property in connection with the purchase and sale of a security of an issuer with a
class of securities registered under Section 12 of the Securities Exchange Act of 1934 and that
was required to file reports under Section 15(d) of the Securities Exchange Act of 1934, to wit,
the defendants executed a scheme to defraud DWAC and Benessere by misappropriating
material non-public information for the purpose of executing securities transactions in DWAC.

(Title 18, United States Code, Sections 1348 and 2.)

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COUNT ELEVEN
(Money Laundering)

The Grand Jury further charges:

25. The allegations contained in paragraphs | through 16 of this Indictment are
hereby repeated, realleged, and incorporated by reference, as if fully set forth herein.

26. From at least in or about 2021 through at least in or about 2023, in the Southern
District of New York and elsewhere, MICHAEL SHVARTSMAN, the defendant, knowing that
the property involved in a financial transaction represented the proceeds of some form of
unlawful activity, conducted and attempted to conduct such a financial transaction, which
transaction affected interstate and foreign commerce and involved the use of a financial
institution which was engaged in, and the activities of which affected, interstate and foreign
commerce, and which in fact involved the proceeds of specified unlawful activity, to wit, fraud
in the sale of securities, in violation of Title 15, Sections 78j(b) & 78ff and Title 17, Code of
Federal Regulations, Section 240.10b-5, knowing that the transaction was designed in whole and
in part to conceal and disguise the nature, the location, the source, the ownership, and the control
of the proceeds of specified unlawful activity.

(Title 18, United States Code, Sections 1956(a)(1)(B)(i).)
COUNT TWELVE

(Engaging in a Monetary Transaction in Property Derived
from Specified Unlawful Activity)

The Grand Jury further charges:
27. The allegations contained in paragraphs 1 through 16 of this Indictment are
hereby repeated, realleged, and incorporated by reference, as if fully set forth herein.
28. In or about July 2022, in the Southern District of New York and elsewhere,

MICHAEL SHVARTSMAN, the defendant, within the United States, knowingly engaged and

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attempted to engage in a monetary transaction, as defined in Title 18, United States Code,
Section 1957(f)(1), in criminally derived property of a value greater than $10,000 that was
derived from specified unlawful activity, to wit, MICHAEL SHVARTSMAN transferred, and
assisted in the transferring of, approximately $12 million consisting of proceeds from the
commission of fraud in the sale of securities, in violation of Title 15, Sections 78j(b) & 78ff and
Title 17, Code of Federal Regulations, Section 240.10b-5.

(Title 18, United States Code, Sections 1957 and 2.)

FORFEITURE ALLEGATIONS

29. Asa result of committing the offenses alleged in Counts One through Ten of this
Indictment, MICHAEL SHVARTSMAN, GERALD SHVARTSMAN, and BRUCE GARELICK,
the defendants, shall forfeit to the United States, pursuant to Title 18, United States Code, Section
981(a)(1)(C) and Title 28 United States Code, Section 2461(c), any and all property, real and
personal, that constitutes or is derived from proceeds traceable to the commission of said offenses,
including but not limited to a sum of money in United States currency representing the amount of
proceeds traceable to the commission of said offenses and the following specific property:

a. Any and all funds in account number 10511067 in the name of EFT
Business Services LLC at SNB Bank, N.A.;

b. The vessel “Provocateur,” f/k/a “Ipanema,” bearing IMO Number 9802798;
and

c. Three Yamaha Jet Skis tendered to the Provocateur.

30.  Asaresult of committing the offenses alleged in Counts Eleven and Twelve of this
Indictment, MICHAEL SHVARTSMAN, the defendant, shall forfeit to the United States, pursuant
to Title 18, United States Code, Section 982(a)(1), any and all property, real and personal, involved

' in said offenses, or any property traceable to such property, including but not limited to a sum of

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money in United States currency representing the amount of property involved in said offenses
and the following specific property:

a. Any and all funds in account number 10511067 in the name of EFT
Business Services LLC at SNB Bank, N.A.;

b. The vessel “Provocateur,” f/k/a “Ipanema,” bearing IMO Number 9802798;
and

Cc. Three Yamaha Jet Skis tendered to the Provocateur.

Substitute Assets Provision

31.  Ifany of the above-described forfeitable property, as a result of any act or

omission of the defendants:

a. cannot be located upon the exercise of due diligence;

B: has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

é. has been commingled with other property which cannot be subdivided
without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p) and
Title 28, United States Code, Section 2461(c), to seek forfeiture of any other property of the
defendants up to the value of the above forfeitable property.

(Title 18, United States Code, Section 981;

Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

FOREPERSON DAMIAN WILLIAMS
United States Attorney

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